 Case 2:15-cv-09332-SJO-JEM Document 120 Filed 06/13/17 Page 1 of 4 Page ID #:3912


 1

 2
     Richard B. Specter, SBN 114090                             JS-6
     Diane L. Ellis, SBN 130628
 3   CORBETT, STEELMAN & SPECTER
     A Professional Law Corporation
 4   18200 Von Karman Avenue, Suite 900
     Irvine, California 92612-1023
 5                                                       June 13, 2017
     Telephone: (949) 553-9266
     Facsimile: (949) 553-8454
 6                                                          VPC
     rspecter@corbsteel.com
 7
     Attorneys for Plaintiffs
 8   LOS ANGELES TURF CLUB, INCORPORATED,
 9   LOS ANGELES TURF CLUB II, INC.,
     PACIFIC RACING ASSOCIATION, PACIFIC RACING
10   ASSOCIATION II, GULFSTREAM PARK RACING
     ASSOCIATION, INC., OREGON RACING, INC.,
11   MARYLAND JOCKEY CLUB OF BALTIMORE CITY, INC.,
     and LAUREL RACING ASSOCIATION, INC.
12

13

14                        UNITED STATES DISTRICT COURT
15                       CENTRAL DISTRICT OF CALIFORNIA
16
     LOS ANGELES TURF CLUB,                   ) No.: 2:15-cv-9332 SJO (JEMx)
17   INCORPORATED, a California               )
     Corporation, LOS ANGELES TURF            )
18   CLUB II, INC., a California Corporation, ) JUDGMENT
     PACIFIC RACING ASSOCIATION, a )
19
     California Corporation, PACIFIC          )
20   RACING ASSOCIATION II, a California )
     Corporation, GULFSTREAM PARK             )
21   RACING ASSOCIATION, INC., a              )
     Florida Corporation, OREGON RACING,)
22   INC., a Delaware Corporation,            )
23   MARYLAND JOCKEY CLUB OF                  )
     BALTIMORE CITY, INC., a Maryland )
24   Corporation, and LAUREL RACING           )
     ASSOCIATION, INC., a Maryland            )
25   Corporation,                             )
                                              )
26
                  Plaintiffs,                 )
27                                            )
           vs.                                )
28                                            )
     HORSE RACING LABS, LLC, a                )
                                  -1-
                                                              [PROPOSED] JUDGMENT
 Case 2:15-cv-09332-SJO-JEM Document 120 Filed 06/13/17 Page 2 of 4 Page ID #:3913


 1   Delaware Limited Liability Company,        )
     (also known as IMMERSE, LLC), doing        )
 2   business as DERBYWARS, and DOES 1          )
 3   through 10, inclusive,                     )
                                                )
 4                Defendants.                   )
                                                )
 5                                              )
                                                )
 6
                                                )
 7                                              )
                                                )
 8                                              )
 9

10
           WHEREAS, on December 2, 2015, Plaintiffs Los Angeles Turf Club, Inc., Los

11
     Angeles Turf Club II, Inc., Pacific Racing Association, Pacific Racing Association II,

12
     Gulfstream Park Racing Association, Inc., Oregon Racing Inc., Maryland Jockey Club

13
     of Baltimore City, Inc., and Laurel Racing Association, Inc. (collectively, “Plaintiffs”),

14
     commenced this action against Defendant Horse Racing Labs, LLC, d/b/a Derby Wars

15
     (“Defendant”), alleging, among other things, that Defendant’s fantasy horse racing

16
     contests that use horseraces run at horserace tracks operated by Plaintiffs (the

17
     “Contests”) violate the Interstate Horseracing Act (“IHA”) (the “Action”);

18
           WHEREAS, on May 31, 2016, Defendant filed an Answer to Plaintiffs’ claims,

19
     raising a number of affirmative defenses and denying any and all liability for the

20
     claims asserted;

21
           WHEREAS, on May 15, 2017, the Court issued its Order granting in part

22
     Plaintiffs’ Motion for Partial Summary Judgment, and Denying Defendant’s Motion

23
     for Summary Judgment, (Docket, No. 88), (the “Order”);

24
           WHEREAS, Plaintiffs and Defendant have entered into a Stipulation for Entry

25
     of Judgment (the “Stipulation”);

26
           WHEREAS, Plaintiffs and Defendant enter into this Stipulated Judgment and

27
     Permanent Injunction (“Judgment”) as part of a full and final settlement of all claims

28
     that were raised in the Action, or which could have been raised in the Action, arising


                                      -2-
                                                                     [PROPOSED] JUDGMENT
 Case 2:15-cv-09332-SJO-JEM Document 120 Filed 06/13/17 Page 3 of 4 Page ID #:3914


 1   out of the facts and conduct alleged therein. The Judgment is entered into for the
 2   purpose of resolving issues disputed in this Action only; and
 3         This Court, having considered the pleadings and Stipulation, and good cause
 4   appearing therefrom,
 5         IT IS ORDERED, ADJUDGED, AND DECREED THAT:
 6         1.      The Order shall remain in full force and effect as the Order of this Court,
 7   and is incorporated into this Judgment.
 8         2.     Defendant, and its agents, servants, employees, officers, dbas, successors,
 9   licensees and assigns, and all persons acting in concert or participation with each and
10   any of them, shall be, and hereby are, forever restrained and enjoined from directly or
11   indirectly using or including any horseraces run at any of the horserace tracks operated
12   by any of the Plaintiffs in any of Defendant’s Contests, without the prior written
13   consent of Plaintiffs.
14         3.     Plaintiffs shall recover from Defendant the sum of $1,000,000.00, subject
15   to the following:
16         a.     On the latter of three business days after notice of entry of this Judgment
17   or three business days after Plaintiffs provide written wiring instructions as to payment
18   to Defendant, Defendant shall pay to Plaintiff the sum of $250,000.00;
19         b.     On the fifteenth day of each succeeding month (subject to a grace period
20   of five business days), for the next thirty-six months, Defendant shall pay to Plaintiff
21   the sum of $20,833.00 per month, provided that if Defendant makes the initial
22   payment pursuant to subsection (a) above and the first twelve monthly payments
23   pursuant to this subsection (b) in full and on time as required herein, the monetary
24   obligations set forth in Paragraphs 3 and 4 shall be deemed satisfied in full. Nothing
25   in this Paragraph 3 shall prevent Defendant from making an earlier lump sum payment
26   equal to the balance of the first twelve (12) months payments, in which case Defendant
27   shall be excused from making any further payments, and the monetary obligations set
28   forth in this Paragraphs 3 and 4 shall be deemed satisfied in full.

                                      -3-
                                                                      [PROPOSED] JUDGMENT
 Case 2:15-cv-09332-SJO-JEM Document 120 Filed 06/13/17 Page 4 of 4 Page ID #:3915


 1         4.     Plaintiffs shall also recover from Defendant postjudgment interest on all
 2   unpaid sums, at the rate of 5% per annum, compounded annually, from the date of
 3   entry of this Judgment until the date of payment. Only in the event of default will any
 4   unpaid payments or sums due accrue interest at the rate of five percent (5%) per
 5   annum until paid in full.
 6         5.     Nothing in this Judgment, nor any act performed by Defendant nor any
 7   document executed pursuant to this Judgment, shall be construed as an admission by
 8   Defendant of any fact, liability, issue of law, conclusion of law or violation of any
 9   statutory or regulatory laws, nor shall compliance with this Judgment constitute or be
10   construed as an admission by Defendant of any fact, liability, issue of law, conclusion
11   of law or violation of any statutory or regulatory laws. Specifically, this Judgment and
12   Order shall not have issue preclusive effect, and shall not be admissible in Court, as to
13   Defendant or its owners, agents, servants employees, representatives, officers, DBAs,
14   successors, licensees and assigns in any future actions not brought by Plaintiffs,
15   including but not limited to private parties, government agencies, law enforcement
16   agencies, or regulatory organizations.
17         6.     The Court shall maintain continuing jurisdiction over this action for the
18   purpose of enforcing this Judgment.
19

20         THAT JUDGMENT IN FAVOR OF PLAINTIFFS BE SO ENTERED.
21

22   DATED: June 13, 2017
23

24                                               ________________________________
25
                                                 Honorable S. James Otero
                                                 Judge of the United States District Court
26

27

28


                                      -4-
                                                                     [PROPOSED] JUDGMENT
